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Professor John H Davis III
1131 Felton Rd
Red Lion, PA 17356

The Most Honorable Judge Ellen Hollander.
Edward A Garmatz United States District Courthouse

Dear Judge Hollander,

My name is John H Davis III, and I am James I Piccirilli’s uncle. I am a retired Associate Professor Emeritus
from the Community College of Baltimore County , Catonsville, teaching the General Motors Automotive
Service Educational degree program from 1988 through 2017. I have also served in the U.S. Army
Reserves from 1969 to 1985 as a Chief Warrant Officer.

James is a person of good moral and non-violent character. He has always been reliable, trust worthy
and overall good person. We always saw each other during every year at holidays, birthdays and
anniversary celebrations.

An example of James character is as follows. Once, about midnight, I was driving through the Baltimore
Harbor Tunnel, the vehicle I was driving developed a break in the automatic transmission cooler line
spilling about 10 quarts of ATF through the tunnel. Having just finished teaching an evening class, I was
tired and agitated. I made a couple phone calls to see if I could get any assistance. I was able to reach
James and within an hour he came to my rescue with hose, clamps and a case of ATF. I was parked
between the toll facility and the end of the tunnel. We were able to repair the line, fill the transmission
with fluid and I was on my way home. Without James assistance I would have been saddled with both a
towing and repair bill. At the time I was working extra hours to help make ends meet and I could not
have afforded the towing and repairs. I am eternally grateful for his kindness.

I would like to take this time to say that although James has been accused of wrongdoing, I know it
wasn’t done maliciously; it was a result of over enthusiasm and poor judgment.

I trust the information I have submitted will be taken into consideration, and you will judge James fairly.

Sincerely,

John H Davis III
